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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA



WILLIAM DEAN, individually, on
behalf of himself and all others similarly
situated,                                          Civ. No.
              Plaintiff,

       v.                                          CLASS ACTION COMPLAINT
                                                   FOR VIOLATION OF FEDERAL
CITY OF MONTICELLO,                                SECURITIES LAWS
MINNESOTA,
                                                     (Jury Trial Demanded)
              Defendant.



       Plaintiff, by his attorneys, Schiff Hardin, LLP and Oppenheimer Wolff &

Donnelly LLP, on behalf of himself and on behalf of all other similarly situated persons,

for his Class Action Complaint against Defendant, states and alleges as follows:

                               I. INTRODUCTION

       1.    This is a civil class action brought by the Plaintiff and all others similarly

situated (collectively, "the Class") against the City of Monticello, Minnesota ("the City"

or "Defendant"). This action arises from the fraudulent offering and sale on June 19,

2008 (the "Sale Date") of $26,445,000 in face value of Telecommunications Revenue

Bonds (FiberNet Monticello Project) Series 2008 (the "Bonds") issued by the City. The

Bonds were issued by the City to provide funds to finance the development, acquisition,

construction and installation of a "fiber to the premises" broadband communications

network (the "FTTP Project"), which provides cable television services, internet access
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and telephone services. The FTTP Project is owned, developed and constructed by the

City.

         2.    The City, in connection with the offering and sale of these Bonds, failed to

disclose material facts that indicated that the FTTP Project could not generate sufficient

net revenues to make the project economically feasible. Plaintiff and the Class purchased

the Bonds upon review, and in reliance upon: a Preliminary Official Statement issued by

the City on May 5, 2008 (the "Original POS"), and by a Supplement to the POS, dated

June 3, 2008 (the "Supplement" and, together with the Original POS, the "Final POS").

As required by the rules of the Municipal Securities Rulemaking Board (the "MSRB")

and Rule 15c2-12 of the Securities and Exchange Commission ("Rule 15c2-12"), the

"Final POS" was the "deemed final" offering document. As also required by Rule 15c2-

12, the Final POS, with additional information added, became the Official Statement

dated June 10, 2008 (the "Official Statement," and, together with the Final POS, the

"Offering Documents"), which failed to disclose material facts.

         3.   The sole source of revenue to pay debt service on the Bonds is net

operating revenues from the FTTP Project, after payment of certain operation and

maintenance costs ("Net Revenues," or better stated, profit). The Bonds are not a general

obligation of the City, and the City is not required to advance any money derived from

any source other than Net Revenues from the FTTP Project for payment due under the

Indenture. The City is also not obligated to raise any tax to make payments on the

Bonds. The Net Revenues generated by the FTTP Project for the first several years of

operations were highly dependent upon the time frame in which the network was


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completed, as the underlying technology and direct competition in the retail

telecommunications market is constantly evolving.

       4.    In 2006, the City hired CCG Consulting, LLC ("CCG") to conduct a

detailed Broadband Feasibility Study ("Feasibility Study") regarding potential

construction of the FTTP Project. As part of this Feasibility Study, CCG created a series

of financial reports, including forecasted financial statements for the FTTP Project. An

updated version of these forecasted financial statements was included as Appendix F to

the Original POS (the "Forecast"). The projected operating results for the FTTP Project

shown in the Forecast were based upon the assumptions that revenues would begin to

stream in to the FTTP Project in fiscal year 2008, that the FTTP Project would generate

total operating revenues of over $1.1 million in fiscal year 2009, and further that the

FTTP Project would achieve a 60% "penetration" of households in the City, in order to

pay all of the operating expenses of the FTTP Project and to have enough surplus Net

Revenues to pay the debt service on the Bonds each six months when due. The Forecast

further assumed that the FTTP Project would generate sufficient Net Revenues to begin

paying debt service on the Bonds by fiscal year 2011.

      5.     On May 21, 2008, less than one month before the issuance of the Bonds, a

Summons and Complaint (the "Litigation") was served upon the City by Bridgewater

Telephone Company, Inc. ("Bridgewater"). Bridgewater sought a preliminary and

permanent injunction, barring the City from issuing the Bonds for the FTTP Project. The

City was aware that, as a result of this ongoing Litigation, construction for the FTTP

Project would be significantly delayed, and the projected Net Revenues set forth in the


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POS were no longer accurate. However, the City fraudulently omitted from the Offering

Documents any explanation that the pendency of the Litigation would cause such delay in

construction for the FTTP Project, and further omitted any information regarding how

that delay would affect projected Net Revenues, the sole source of cash flow to pay debt

service on the Bonds.

       6.     The City directly participated in fraudulently omitting the material

information from, and making misleading statements in, the Offering Documents.

Furthermore, the City was aware that the Bonds were to be sold primarily to "retail"

purchasers, who were unsophisticated investors, to whom it owed a greater duty of care,

particularly since the repayment of the Bonds was dependent upon the FTTP Project

earning profits.

       7.     After issuing the Bonds on June 19, 2008, the City escrowed the proceeds

of the Bonds until the Litigation concluded eleven months later. The FTTP Project did

not begin construction until the summer of 2009, and the project was not substantially

complete until the end of 2010. Due to delays in construction as a result of the Litigation,

as well as competition in the market, the FTTP Project has struggled to gain subscribers,

failing to reach the "penetration rates" shown by the Forecast as needed to produce

enough Net Revenues to pay debt service on the Bonds. In fact, the City has lost money

every year providing the services contemplated by the FTTP Project, over $4,000,000 in

the aggregate through the date hereof. Furthermore, until July of 2011, debt service on

the bonds was paid solely from Bond proceeds and not from Net Revenues of the FTTP

Project. The City then used a loan from another department to pay debt service on the


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Bonds from June 2011 until June 2012. The City has not paid debt service on the Bonds

since July, 2012 and has publicly stated that it would not do so ever in the future. The

FTTP Project is currently, and projected to forever be, incapable of earning sufficient Net

Revenues, or profit, to pay debt service on the Bonds.

                          II. JURISDICTION AND VENUE

       8.     This Court has federal question jurisdiction pursuant to the Securities

Exchange Act of 1934, 15 U.S.C. § 78aa and 28 U.S.C. § 1331.

       9.     Venue of this action lies in this Court pursuant to 28 U.S.C. § 1391(b)

because a substantial part of the events or omissions giving rise to Plaintiff's claims

occurred in this District, and the property that is the subject of this action is located in this

District.

                                   III. THE PARTIES

       A. Plaintiff

       10.    Plaintiff William Dean is a resident of Bloomington, Minnesota. Dean is a

semi-retired consultant who purchased $30,000 in Bonds in the original offering and

another $20,000 within a month after the original offering.

       11.    Plaintiff brings this action on his own behalf and as a class action pursuant

to Rule 23(a) and Rule 23(b)(3) of the Federal Rules of Civil Procedure on behalf of a

class (the "Class") consisting of all persons who or which purchased the Bonds following

their issuance on the Sale Date, or who purchased the Bonds from such holders or

transferees, whether or not they own Bonds at the time of the Settlement (the "Class

Period"). Excluded from the Class are the Defendant, any entity in which the Defendant


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has a controlling interest, and the legal affiliates, representatives, heirs, controlling

persons, successors and predecessors in interest or assigns of any such excluded party.

       12.    Because the Bonds were sold directly or indirectly to over 500 bondholders

in numerous states, members of the Class are so numerous that joinder of all members is

impracticable. While the exact numbers of Class members can only be determined by

appropriate discovery, Plaintiff believes that Class members number over at least 500 and

that they are geographically dispersed.

       13.    Plaintiff's claims are typical of the claims of the members of the Class,

because Plaintiff and all of the Class members sustained damages arising out of

Defendant's wrongful conduct complained of herein and Plaintiff and the Class were

induced to purchase the Bonds as a result of Defendant's failure to disclose material facts

in the Offering Documents.

       14.    Plaintiff will fairly and adequately protect the interests of the Class

members and has retained counsel who are experienced and competent in class action and

securities litigation. Plaintiff has no interests that are contrary to or in conflict with the

members of the Class who Plaintiff seeks to represent.

       15.    A class action is superior to all other viable methods for the fair and

efficient adjudication of this controversy, since joinder of all members is impracticable.

Furthermore, as the damages suffered by individual members of the Class may be

relatively small, the expense and burden of individual litigation make it impossible for

members of the Class individually to redress the wrongs done to them. There will be no

difficulty in the management of this action as a class action.


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       16. Questions of law and fact common to the members of the Class

predominate over any questions that may affect only individual members, in that

Defendant has acted on grounds generally applicable to the entire Class. Among the

questions of law and fact common to the Class are:

                  a. did Defendant knowingly, recklessly or with an intention to defraud,
                     have knowledge of the dissemination of Offering Documents and
                     their failure to disclose material facts?

                  b. did Defendant in connection with the purchase or sale of the Bonds
                     engage in any act, practice or course of business which operated or
                     would operate as a fraud or deceit upon the buyers of the Bonds?

                  c. were the projected Net Revenues contained in the Offering
                     Documents an important factor in the decision of individual
                     Bondholders to purchase the Bonds?

                  d. did the Offering Documents misrepresent material facts about the
                     Net Revenues supporting the Bonds?

                  e. were Bondholders damaged by the Defendant's failure to disclose
                     material facts in the Offering Documents?

       B. Defendant

       17.    Defendant City of Monticello (the "City") is a political subdivision of the

State of Minnesota. The City is the issuer of the Bonds and the owner of the FTTP

Project. As the issuer of the Bonds, the City offered the Bonds to the investing public,

including Plaintiff and the Class, during the initial public distribution. The City failed to

disclose numerous material facts in the Offering Documents.




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                            IV. FACTUAL BACKGROUND

A.     The City Begins Its Investigation into the FTTP Project

       18.      According to the Official Statement, the City began its investigation into

building a broadband communications network within the City in May 2005, as a means

of stimulating the local economy. As part of this investigation, the City established a task

force (the "Task Force") in order to further investigate the FTTP Project, with the

specific stipulation that the FTTP Project would not be funded by a tax levy.

B.     The City Retains an Independent Consultant to Prepare a Feasibility Study

       19.      In December 2005, the Task Force issued a Request for Proposal ("RFP")

for a broadband feasibility study, with responses due in February 2006. The Task Force

ultimately hired CCG, Dain International Services ("Dain International") and Springsted

Incorporated ("Springsted") to conduct the Feasibility Study. The final results of the

Feasibility Study were published on September 18, 2006. The Feasibility Study included

a market survey, development of a business model, and an analysis of operating models,

competition, regulatory hurdles, legal issues, financial feasibility and financing

alternatives.

       20.      The results of the market survey indicated that residents would be willing to

purchase cable television, high-speed internet and telephone services from the City, but

only if the City could provide a lower cost-alternative to the current providers. The

market survey of 374 residents found that 74% of residences would buy cable television

from the City if they could save 15%, while another 21% said that they may buy cable

television from the City. The survey also found that 67% of residences would buy


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internet access from the City if offered at a discounted rate from the current cost, while

another 24% said that they may buy from the City. Finally, 60% of residences surveyed

indicated that they would purchase landline telephone service from the City for a $5.00

discount in their current rate, while an additional 33% said they may switch.

       21.    CCG also created a series of financial reports for the FTTP Project,

including forecasted financial statements and projected market penetration rates for both

residential and business customers, all of which were contained in the Forecast. CCG

assumed a cable television penetration rate of 60% of residential households by 2012, a

telephone service penetration rate of 60% of residential households by 2012, and a high-

speed internet and data service penetration rate of 35% of residential households by 2016.

CCG also assumed a cable television penetration rate of 17% of commercial customers

by 2016, a telephone service penetration rate of 60% of commercial customers by 2013,

and a high-speed internet and data service penetration rate of 34% of commercial

customers by 2016.

       22.   The Forecast concluded that the FTTP Project appeared economically

feasible, assuming that the FTTP Project achieved the penetration rates set forth above.

The conclusions of the Forecast were based upon several factors, including (i) the market

survey results indicating a demand for the services provided by the FTTP Project, and (ii)

CCG's conclusion that the FTTP Project should be profitable enough to pay for operating

costs, debt service, and capital improvements and replacements out of the revenues

generated. CCG's financial analysis of the FTTP Project, as updated and set forth in the

Final POS, projected that revenues would begin to stream in to the FTTP Project in fiscal


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year 2008, that the FTTP Project would generate total operating revenues of over $1.1

million in fiscal year 2009, and that the FTTP Project would generate sufficient Net

Revenues to begin paying debt service on the Bonds by fiscal year 2011.

       23.     The projected operating results and debt service coverage for the FTTP

Project were drafted by CCG prior to the Litigation, and were never revised after the

Litigation was filed in May 2008. Even before the Bonds were issued, the City was

aware that it would not be possible for revenue to begin streaming into the FTTP Project

in fiscal year 2008, given the delay in construction that would occur as a result of the

Litigation. In fact, as could be expected, the Litigation took 11 months to conclude, and

construction did not even begin on the FTTP Project until 2009.

C.    The City Decides to Move Forward with the FTTP Project

      24.      After receiving the results of the Feasibility Study, the City Council

approved moving forward with the FTTP Project at a City Council meeting held on

September 25, 2006.

      25.      The City then asked CCG to conduct a second market survey in November

2006, which consisted of CCG calling over 2,700 homes within the City. Respondents

were asked whether they would consider purchasing telephone, Internet and cable

television services from the City. CCG received 1,375 responses, and over 63% of those

respondents indicated that they would purchase these services from the City, if the City

could provide those services at a lower price than was currently being offered by its

competitors.




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       26.   In early 2007, the City hired CCG, along with U-reka Broadband ("U-

reka"), to perform an in-depth engineering study in order to estimate the cost of

constructing the FTTP Project. The results of this study are summarized in a Pre-

Engineering Report, dated March 31, 2007. The City represented in the Offering

Documents that it would cost approximately $16.9 million to construct the FTTP Project.

      27.    The Task Force was dissolved in May 2007, and a City Fiber Optics

Committee (the "Fiber Optics Committee") was formed in its place. The Fiber Optics

Committee was tasked with identifying the components needed to construct, own and

operate the FTTP Project.

      28.    On September 18, 2007, the City conducted a City-wide referendum,

seeking approval from City residents to construct a voice switch that would provide

telephone service for the FTTP Project. The referendum specifically asked, "Shall the

City be authorized to construct, purchase, or proceed to acquire a telephone exchange?"

The City-wide referendum received a positive response from 74% of voters.

      29.    After the City-wide referendum passed, the Fiber Optics Committee

developed a financial plan and business model for the FTTP Project. The Fiber Optics

Committee also hired Spectrum Engineering Corporation ("Spectrum") for design and

inspection services, approved a management services contract for operation of the

business, and developed a marketing plan.

      30.    The City hired Hiawatha Broadband Communications, Inc. ("HBC") to

manage the FTTP Project. HBC is a Minnesota corporation that operates a number of

broadband systems in Minnesota and Wisconsin. The City and HBC executed a three
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year management agreement, providing for HBC to operate the fiber-network on a day-

to-day basis. Upon completion of the FTTP Project, HBC was to provide operations

support, including technical support, a customer help desk, billing and general

management support.

       31.    Finally, a governance ordinance establishing a telecommunication public

service enterprise known as "FiberNet Monticello," was approved by the City Council on

April 14, 2008.

D.     The City Issues a Preliminary Official Statement for the Bond Offering

       32.    On May 5, 2008, the City issued a Preliminary Official Statement

("Original POS") in connection with the upcoming Bond offering. The Original POS set

forth, among other things, the terms of the proposed Bond issuance, a description of

bondholder risks, background information regarding the FTTP Project, results of the

Feasibility Study, details regarding the construction of the FTTP Project and forecasted

financial statements for the FTTP Project.

       i.     Terms of the Bond Issuance

       33.    The Bonds were to be delivered pursuant to an Indenture of Trust (the

"Indenture"), dated June 1, 2008, between the City and Wells Fargo Bank, N.A. as trustee

(the "Trustee"). Individual purchases of these Bonds were to be made in denominations

of $5,000 or any integral multiple thereof, and were to be in book-entry form only.

       34.    The proceeds of the Bonds were intended to be used for (i) the cost of

acquiring, installing, developing and constructing the FTTP Project, (ii) to pay capitalized

interest on the Bonds during the construction of the FTTP Project, (iii) funding of the


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2008 Reserve Requirement for the Bonds, (iv) to pay start-up costs of the FTTP Project,

and (v) to pay costs for the issuance of the Bonds. The Bonds were to be tax-exempt

(i.e., interest on the Bonds would not be subject to Federal income taxation) and were to

bear interest at 6.5% with respect to the Bonds maturing in 2023, and 6.75% with respect

to the Bonds maturing in 2031. Interest was to be and is payable semi-annually, on June

1 and December 1 of each year, beginning December 1, 2008.

       35.    The Bonds were to be and are subject to optional redemption before the

stated maturity date at the option of the City, in whole or in part, on any date on or after

June 1, 2018, at a redemption price equal to 100% of principal plus accrued interest. In

the event that the FTTP Project is damaged or destroyed, the City may call for the

redemption of the Bonds then outstanding if the damage exceeds $1 million. The Bonds

are also subject to a mandatory sinking fund redemption each June 1, according to the

schedule listed in Appendix 2, solely from net revenues of the FTTP Project, at a

redemption price equal to 100% of principal plus accrued interest.

       36.   Debt service on the Bonds was to be paid solely from Net Revenues from

the FTTP Project, after payment of certain operation and maintenance costs. The City

was and is not required to advance any money derived from any source other than Net

Revenues from the FTTP Project for payment due under the Indenture. The economic

feasibility of a fiber-net communications network that uses net revenues to service the

debt incurred by building the network is highly dependent upon the time frame in which

the network was completed, as the underlying technology and direct competition in the

retail telecommunications market is constantly evolving.


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       ii.   Construction of the FTTP Project

       37.   The FTTP Project would provide cable television, high speed internet

access and telephone service within the City. The majority of cable television

programming was to have been received from signals off satellites from content providers

through negotiated agreements. The City's internet service was to have consisted of

speeds of anywhere from 10 to 100 Mbps, with an increase to 200 Mbps at nominal cost.

Telephone services were to have been provided using the City's own voice switch.

       38.   The City estimated that the "backbone network" for the FTTP Project

would be completed by the end of 2008, with the aim to service every customer in the

City who desires service within 24 months of the date of the Bond issuance. The

estimated cost of construction for the FTTP Project was $16.9 million. The fiber network

portion of the FTTP Project was expected to begin construction in June 2008 and was to

be completed by the spring of 2009. Construction of the FTTP Project was to be fully

completed within 30 months of the Bond issuance.

      39.    The FTTP Project would have to directly compete with two incumbent

providers: (i) TDS Telecommunications Corp. ("TDS"), a telephone company

headquartered in Wisconsin; and (ii) Charter Communications, Inc. ("Charter"), a local

cable television provider. Both TDS and Charter also offer internet services. At this

time, the City had not yet developed final products and prices for the FTTP Project, but

estimated that it would be able to offer "enhanced services" at an approximately 15%

discount from the competition.




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        iii.   Forecasted Financial Statements for the FTTP Project

        40.    The projected operating results, or Forecast, for the first eight fiscal years

of the FTTP Project are set forth in Appendix F to the Final POS, entitled "Forecasted

Financial Statements." These financial statements were prepared by CCG on or around

April 24, 2008.

        41.    The Forecast was based upon the same customer penetration rates set forth

in CCG's Feasibility Study. CCG assumed a cable television penetration rate of 60% of

residential households by 2012, a telephone service penetration rate of 60% of residential

households by 2012, and a high-speed internet and data service penetration rate of 35%

of residential households by 2016. CCG also assumed a cable television penetration rate

of 17% of commercial customers by 2016, a telephone service penetration rate of 60% of

commercial customers by 2013, and a high-speed internet and data service penetration

rate of 34% of commercial customers by 2016. The forecasted financial statements are

also based upon the assumption that the FTTP Project will be able to offer pricing for

voice, cable television, and high-speed internet services at approximately 15 percent

below the TDS and Charter prices as of March 2008.

        42.    According to the forecasted financial statements, revenues would begin to

stream in to the FTTP Project in fiscal year 2008, the FTTP Project would generate total

operating revenues of over $1.1 million in fiscal year 2009, and the FTTP Project would

generate sufficient Net Revenues to begin paying debt service on the Bonds by fiscal year

2011.




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E.     The Litigation is Filed Against the City

       43.    On May 21, 2008, shortly before the Bonds were to be issued, the City was

served with a Summons and Complaint in the Litigation brought by Bridgewater. The

case was captioned Bridgewater Telephone Company, Inc., a Minnesota corporation,

Plaintiff vs. City of Monticello, Minnesota, Defendant, in the State of Minnesota District

Court, Wright County, Tenth Judicial District. In the Complaint, Bridgewater, whom the

City believes to be an affiliate of TDS, sought a preliminary and permanent injunction

barring the City from issuing the Bonds for the FTTP Project, a declaration that any

Bonds issued by the City were void, and further relief as the Court deemed just.

       44.   In its Complaint, Bridgewater alleged that the creation and operation of the

FTTP Project was not a permitted use for revenue bonds issued under Minnesota Statutes,

Section 475.52, Subdivision 1. Bridgewater further alleged that this statute prohibited the

issuance of revenue bonds for the corporate purpose of paying current expenses, and that

the funding of the Operating Reserve Fund with Bond proceeds constituted an

unpermitted use of Bond proceeds for current expense payments.

F.    The Supplement and the Official Statement Failed to Disclose Material Facts
      Related to the Litigation

      45.    Shortly after the Litigation was filed against the City, the City issued the

Supplement to the Original POS, dated June 3, 2008. The information contained in the

Supplement was later incorporated into the Official Statement.            These Offering

Documents were misleading and failed to disclose material facts which would have cast

doubt on the forecasted financial statements for the FTTP Project.



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       46.    The Supplement, which is only eight pages in total, provided the

bondholders with a brief, two-paragraph description and assessment of the Litigation.

According to the Supplement, the City believed that the Litigation was "without merit,"

but also noted that "an evaluation of the probability of a favorable outcome is

speculative. The "LITIGATION" section of the Supplement provides only the following

brief disclosure regarding delays in construction of the FTTP Project: "[S]hould an

injunction be granted or the Bonds be declared void there would be a material adverse

effect on the ability of the City to construct the FTTP Project and place it in service, with

a corresponding material adverse effect on the City's ability to pay debt service on the

Bonds."

       47.    The statements contained in the Supplement regarding the Litigation were

misleading, as they give potential bondholders the impression that the FTTP Project

would only be adversely impacted by the Litigation if the City were to lose the case on

the merits. The City failed to disclose that the pending Litigation would cause an

inevitable delay in the proposed construction schedule for the FTTP Project, thus

rendering the Forecast set forth in the POS inaccurate.

      48.    The Supplement amended the section of the Original POS titled

"Construction of the FTTP Project." However, the only additional information added to

this section was the following italicized phrase: "Aside from delays in construction as a

result of the Litigation described under 'LITIGATION' herein, the City expects to

complete the backbone network by the end of 2008 and expects to be able to serve every

customer that desires service within 24 months."


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       49.    The Supplement also removed from the "Construction of the FTTP Project"

section of the Original POS any statement that provided a definitive timeline for the

construction of the FTTP Project. For example, the following phrases were removed

from Page 22 of the Original POS:

              "Construction of the fiber network portion of the FTTP
              Project is expected to begin in June 2008 and is planned to be
              completed by the spring 2009."

              "It is anticipated that some conduit at residences and
              businesses will be installed during the construction process to
              allow installation of test customers at the end of 2008, and
              general customers during the first quarter of 2009."

       However, no additional information was provided to bondholders regarding what

type of delays could be expected as a result of the Litigation, or how these delays would

alter the construction timeline for the FTTP Project set forth in the Original POS, and

therefore materially affect the Forecast.

       50.    The Statements contained in the Supplement regarding "Construction of the

FTTP Project" were misleading. Defendant purposely removed from the Offering

Documents all statements that provided a definitive timeline for construction of the FTTP

Project, and failed to provide an updated timeline to the bondholders. Defendant was

aware that Net Revenues for the FTTP Project were highly dependent upon the time

frame in which the network was completed, as the underlying technology and direct

competition in the retail telecommunications market is constantly evolving. In spite of

this, Defendant fraudulently omitted from the Supplement any information regarding how




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the pending Litigation against the City would affect the construction schedule for the

FTTP Project or the forecasted financial statements for the FTTP Project.

       51.    In the Supplement, Defendant failed to update any of the financial data

contained in Appendix F of the Original POS, which contains the Forecast for the FTTP

Project. This Forecast was the sole source of information regarding the Net Revenues

that would be generated by the FTTP Project. Instead, Defendant merely added the

following disclosure to the section of the POS entitled "Projected Operating Results and

Debt Service Coverage":

             "The financial forecast represents the City's best estimate, as
             of its date, prior to the filing of the litigation described under
             the heading "LITIGATION" herein and any construction
             delays resulting therefrom, of projected financial results
             based upon its judgment of the most probable occurrence of
             certain important future events."

       52.   Defendant also added the following disclosure to the section of the Original

POS entitled "Bondholders' Risks — Forecasted Financial Statements":

             "The forecasted financial statements prepared by the City and
             CCG Consulting LLC, Beltsville, Maryland, are based upon
             the assumptions made by the City prior to the commencement
             of the litigation described under the heading 'LITIGATION'
             herein...The City does not intend to issue additional forecasts
             and accordingly there are risks inherent in using the financial
             forecast in the future as it becomes outdated." (emphasis
             added)

       53.   The statements contained in the Supplement regarding the Forecast for the

FTTP Project are misleading. Defendant failed to disclose to bondholders that, as a result

of the pending Litigation, the Forecast provided in the Original POS was already

outdated at the time the Supplement was issued. Defendant was aware that the Litigation


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would cause a significant delay in construction of the FTTP Project; and as a result, the

projected Net Revenues set forth in the Forecast were no longer accurate. However,

Defendant fraudulently omitted from the Supplement any information regarding how a

delay in construction of the FTTP Project would affect projected Net Revenues, the sole

source of revenue to pay debt service on the Bonds.

       iii.   The Official Statement

       54.    On June 10, 2008, and as required by Rule 15c2-12, the City issued the

Official Statement in connection with the Bond Offering. This Official Statement

incorporated all revisions to the Final POS that were set forth in the Supplement. The

Official Statement did not provide any additional detail regarding the Litigation, above

and beyond what was contained in the "LITIGAION" section of the Supplement.

       55.    Just as it had done in the Supplement, Defendant failed to make even a

single update to the Forecast for the FTTP Project in the Official Statement. Instead,

Defendant included the same version of "Appendix F" that was included with the

Original POS, which had been prepared by CCG prior to the commencement of the

Litigation. Defendant fraudulently omitted from the Official Statement any information

regarding how a delay in construction of the FTTP Project would affect projected Net

Revenues, the sole source of revenue to pay debt service on the Bonds.

      56.     Defendant also failed to disclose to potential bondholders in the Official

Statement that the City had no experience in the retail telecommunications market. The

City had never before provided cable television, internet or telephone services to its

residents. Since Net Revenue from the FTTP Project was highly dependent on the City's


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ability to run a successful retail telecommunications business, this information should

have been provided to the Plaintiff and the Class as part of the description of key risks

associated with this investment.

       57.    The Official Statement provides for both optional and mandatory

redemption of the Bonds as a result of the Litigation. The Bonds were subject to

optional redemption by the City, in whole but not in part, on or prior to one year after the

date of issuance of the Bonds, in the event that the Litigation had not been dismissed or

otherwise resolved. The Bonds were also subject to mandatory redemption, in whole but

not in part, upon the occurrence of a Mandatory Redemption Event, which includes "the

earlier to occur of (a) June 19, 2009, if a Litigation Dismissal has not occurred prior to

such date, or (b) the occurrence of an Adverse Litigation Event." Despite its opportunity

to do so, knowing that while the Litigation was pending, Broadridge was developing its

own fiber network in in City limits in order to compete head-on with the FTTP Project

and being made aware of other changes in the marketplace, the City never chose to

exercise the optional redemption of the Bonds. Rather, the Litigation concluded in May

2009, a month prior to the mandatory redemption date for the Bonds, and the City

proceeded to complete construction of the FTTP Project.

G.    Defendant Knowingly or Recklessly Made the Misleading Statements in the
      Offering Documents

      58.    Defendant knew that any facts that would indicate to a potential Bond

purchaser that the FTTP Project was not economically feasible would be material and

must be disclosed in the Offering Documents.



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       59.   Defendant knew that the Offering Documents were intended to create and

did create the impression that the FTTP Project could reasonably be expected to attract a

sufficient number of customers, in order to generate the Net Revenues projected in the

Offering Documents.

       60.   Defendant knew that the ability of the FTTP Project to attract customers

and generate the Net Revenues needed to make debt service payments on the Bonds as

they became due was largely dependent upon the time frame in which the network was

completed.

       61.   As a result, Defendant knew that any facts that would indicate to a potential

Bond purchaser that construction of the FTTP Project would be significantly delayed

would be material facts that must be disclosed in the Offering Documents.

      62.    As the issuer of the Bonds, Defendant made the alleged representations

contained in Appendix F of the Official Statement that revenues would begin to stream in

to the FTTP Project in fiscal year 2008, that the FTTP Project would generate total

operating revenues of over $1.1 million in fiscal year 2009, and that the FTTP Project

would generate sufficient Net Revenues to begin paying debt service on the Bonds by

fiscal year 2011. Defendant had actual knowledge that construction of the FTTP Project

would be delayed as a result of the pending Litigation, and that, as a result, the

representations made in the Forecast regarding projected revenues for the FTTP Project

were outdated and inaccurate.




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H.     Defendant Acted With Deliberate Recklessness

       63.    As the issuer of the Bonds, Defendant made all the representations in the

Offering Documents and owed a duty to bond purchasers to take reasonable steps to

ensure that the Official Statements contained full and fair disclosure of all material facts

and did not make any false or misleading statements of material fact.

       64.    Defendant knew that, as a result of the pending Litigation against the City,

construction of the FTTP Project would be delayed, and that projected Net Revenues for

this project had materially changed as a result. Defendant also knew that bondholders

could not rely on the Forecast set forth in the Official Statement to determine when the

FTTP Project would begin to generate Net Revenues.

       65.    As the issuer of the Bonds, Defendant made the above alleged

representations contained in the Forecast set forth in the Official Statement regarding the

projected Net Revenues of the FTTP Project, and the other financial information

contained therein. Defendant had actual knowledge that the above alleged statements in

the Official Statement were misleading due to the failure to disclose all material facts.

I.     The Bonds Were Issued in June 2008 and Were Purchased by Plaintiff and
       the Class in Reliance Upon the Misleading Offering Documents

       66.    The Original POS was dated May 5, 2008 and was provided to potential

Bond purchasers. The Supplement was dated June 3, 2008, and the Final POS was

provided to potential Bond purchasers. The Official Statement was dated June 10, 2008

and was provided to potential Bond purchasers.




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        67.   Plaintiff and the Class purchased the Bonds in reasonable reliance upon the

Offering Documents that were prepared and issued on behalf of the City in the months

following May 2008. Plaintiff and the Class would not have purchased the Bonds if they

were not reasonably assured that the FTTP project could attain the projected Net

Revenues set forth in the Forecast, and in the time frames assumed therein.

J.      After the Bonds are Issued, the FTTP Project Experiences Construction
        Delays and Is Unable to Generate Net Revenues

        68.   After issuing the Bonds on June 19, 2008, the City escrowed the proceeds

of the Bonds until the Litigation concluded eleven months later. The FTTP Project did

not begin construction until the summer of 2009, and the project was not substantially

complete until the end of 2010.

        69.   Due to delays in construction as a result of the Litigation, as well as

competition in the market, the FTTP Project has struggled to gain subscribers. In fact,

the City has lost money providing the services contemplated by the FTTP Project.

Furthermore, until July of 2011, debt service on the bonds was paid solely from Bond

proceeds and not from Net Revenues of the FTTP Project. The City also used a loan

from another department to pay debt service on the Bonds from June 2011 until June

2012.

         i.   The City Hires an Independent Contractor to Conduct a Restructuring
              Assessment of the FTTP Project

        70.   In 2012, the City hired GigaBit Squared ("GigaBit") to conduct a

restructuring assessment of the FTTP Project. On September 31, 2012, GigaBit

published its FiberNet Restructuring Assessment (the "Gigabit Report").


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       71.    The GigaBit Report acknowledges that, "[D]ue to the lawsuit, pricing

pressure from Charter, and the upgrades from TDS, [the FTTP Project] was not able to

generate sufficient revenue to cover its costs and debt service in the timeframe

predicted." The GigaBit report also found that the FTTP Project "has not yet turned

EBITDA positive meaning that it has not generated the surplus funds necessary to cover

the Bond payment." The Gigabit Report noted that as a result, the City had been forced

to borrow between $3 and $4 million from liquor store reserves in order to pay debt

service on the Bonds.

       72.   According to the GigaBit Report, the FTTP Project had not achieved the

projected market penetration rates for 2012 that were set forth in the Offering

Documents. As of 2012, the FTTP Project had only achieved a cable television

penetration rate of 29% of residential households, and a telephone service penetration

rate of 22% of residential households. In its Feasibility Study, CCG had assumed that the

FTTP Project would have achieved a 60% penetration rate in both of these markets by

2012, which is more than double the actual penetration rates that were achieved.

Consequently, the FTTP Project could not and cannot in the future generate sufficient

cash to cover operating expenses and debt service on the Bonds.

       ii.   The City Issues a Notice of Status to the Bond Trustee

       73.   On June 6, 2012, the City issued a Notice of Status of FiberNet Monticello

Project ("Notice of Status") to Wells Fargo Bank, N.A., as Trustee for the Bond offering.

In the Notice of Status, the City states that, although the FTTP Project is substantially




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complete, "net revenues of the system are not sufficient to pay both operation costs and

debt service payments on the Bonds."

       74.     Although the FTTP Project had not yet generated sufficient Net Revenues

to make deposits to the debt service fund, the City had nevertheless made supplemental

payments to the fund from July 1, 2011 to May 1, 2012. The City had used a loan from

another department to pay debt service on the Bonds during that time frame. However, in

the Notice of Status, the City notified Wells Fargo that it planned to stop making

supplemental payments to the debt service fund as of June 1, 2012. The City stated that,

"There is a debt service reserve fund that is available to make debt service payments for

the near future in the event that net revenues of the System are insufficient to fund debt

service payments."

       75.     The FTTP Project is currently and in the future incapable of earning

sufficient Net Revenues to pay debt service on the Bonds.

                             V. CLAIMS FOR RELIEF

                                 FIRST CLAIM FOR RELIEF

             (Violation of Section 10(b) of the Securities Exchange Act of 1934 and
                           SEC Rule 10b-5 Promulgated Thereunder)

       76.     Plaintiff and the Class repeat and reallege the allegations of all preceding

paragraphs of the Complaint and incorporate the same by reference.

       77.     Defendant, directly and indirectly, in connection with the offering and sale

of the Bonds to Plaintiff and the Class, recklessly, knowingly and/or with intention to

defraud, made untrue statements of material fact or omitted to state material facts, which



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material facts were necessary in order to make the statements not misleading in light of

the circumstances under which those statements were made, in violation of Section 10(b)

of the Securities Exchange Act of 1934 [15 U.S.C. § 78j(b)] and Rule 10b-5 [17 C.F.R. §

240.10b-5] promulgated thereunder.

        78.   The Offering Documents and the appendices thereto were the principal

selling documents for the Bonds and were specifically intended and designed for the

benefit and guidance of prospective investors, such as Plaintiff and the Class. Defendant

knew that investors would rely upon the information contained in the Offering

Documents when deciding whether or not to purchase the Bonds.

        79.   Plaintiff and the Class, either directly or acting through their authorized

brokers, reasonably relied upon the Offering Documents.

        80.   The purpose, effect and result of the violations of Section 10(b) of the

Securities Exchange Act of 1934 and SEC Rule 10b-5 by the Defendant was to induce

Plaintiff and the Class to purchase the Bonds, something they otherwise would not have

done.

        81.   As a direct and proximate result of the above-alleged violations of Section

10(b) of the Securities Act of 1934 and SEC Rule 10b-5 promulgated thereunder,

Plaintiff and the Class have suffered damages in connection with their respective

purchases of the Bonds during the Class Period.




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                            SECOND CLAIM FOR RELIEF

             (Violation of Minnesota Securities Act of 2002, § 80A.68 Section 501)

       82.    Plaintiff and the Class repeat and reallege the allegations of all preceding

paragraphs of the Complaint and incorporate the same by reference.

       83.    The Minnesota Securities Act of 2002 provides that it is unlawful for a

person, in connection with the offer, sale, or purchase of a security, directly or indirectly,

(i) to employ a device, scheme, or artifice to defraud; (ii) to make an untrue statement of

a material fact or to omit to state a material fact necessary in order to make a statement

made, in the light of the circumstances under which it is made, not misleading; or (iii) to

engage in an act, practice, or course of business that operates or would operate as a fraud

or deceit upon another person.

       84.    Defendant, directly and indirectly, in connection with the offering and sale

of the Bonds to Plaintiff and the Class, recklessly, knowingly and/or with intention to

defraud, made untrue statements of material fact or omitted to state material facts, which

material facts were necessary in order to make the statements not misleading in light of

the circumstances under which those statements were made, in violation of the Minnesota

Securities Act of 2002 [M.S.A. § 80A.68, Section 501].

       85.    The Offering Documents and the appendices thereto were the principal

selling documents for the Bonds and were specifically intended and designed for the

benefit and guidance of prospective investors, such as Plaintiff and the Class. Defendant

knew that investors would rely upon the information contained in the Offering

Documents when deciding whether or not to purchase the Bonds.


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       86.    Plaintiff and the Class, either directly or acting through their authorized

brokers, reasonably relied upon the Offering Documents.

       87.    The purpose, effect and result of the violations of the Minnesota Securities

Act of 2002 by the Defendant was to induce Plaintiff and the Class to purchase the

Bonds, something they otherwise would not have done.

       88.    As a direct and proximate result of the above-alleged violations of the

Minnesota Securities Act of 2002, Plaintiff and the Class have suffered damages in

connection with their respective purchases of the Bonds during the Class Period.

                             THIRD CLAIM FOR RELIEF

                                  (Common Law Fraud)

       89.    Plaintiff and the Class repeat and reallege the allegations of all preceding

paragraphs of the Complaint and incorporate the same by reference.

       90.    Defendant made material misrepresentations of fact, and material omissions

of fact, as set forth above, in connection with the offerings and sales of the Bonds to

Plaintiff and the Class.

       91.    The misrepresentations and omissions, as set forth above, were made with

the intent to induce Plaintiff and the Class to purchase the Bonds.

       92.    Plaintiff and the Class were not aware of the omissions and did not know

that the representations were false.

       93.    Plaintiff and the Class justifiably relied upon the representations contained

in the Offering Documents and, as a direct and proximate result, have suffered damages.




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                                  RELIEF REQUESTED

         Plaintiff and the Class request that the Court enter judgment in their favor, and

against the Defendant, on each of their Claims for Relief and award Plaintiff and the

Class:

                a.     Statutory damages or rescission;

                b.     In the alternative, out-of-pocket damages;

                c.     Prejudgment interest;

                d.     Costs;

                e.     Attorneys' fees as allowed by law; and

                f.     Any other relief which the Court deems proper.

                                DEMAND FOR JURY TRIAL

         Plaintiff and the Class hereby demand a jury trial with respect to their Complaint.




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